
¶ 16. We are not here to decide the merits of whether the City was at fault. This is simply a case of whether there is jurisdiction in the chancery court to try *Page 215 
the equity matters that were originally pled with an ancillary case on the merits to be tried under the Tort Claims Act, Miss. Code Ann. §§11-46-1 to -23 (Rev. 2002). Once chancery court takes jurisdiction it takes it for all purposes. Because there was enough equity pled initially in this case to attain chancery jurisdiction, I dissent.
¶ 17. In their amended complaint, the Fowlers specifically requested as relief: (1) a temporary restraining order commanding Ridgeland's police department to keep and preserve the Fowlers' automobile and all other items of evidence in its possession pending a hearing on a preliminary injunction in the case; (2) a preliminary injunction requiring Ridgeland's police department to preserve and keep the Fowlers' automobile and other evidence relating to the Fowlers' case intact; to allow the Fowlers' counsel access to the Fowlers' automobile for photographing and inspection by their experts when and as needed; to provide an inventory of evidence taken in connection with the accident; to provide an opportunity to the Fowlers' experts to examine, inspect, photograph and otherwise record said evidence; (3) a preliminary injunction prohibiting Ridgeland's police department from engaging in high-speed chase pursuits (except as prescribed by law), and from engaging in shootouts against fleeing felons, when it is entirely foreseeable that innocent persons may be injured or killed; (4) an injunction prohibiting Ridgeland's police department from permitting, encouraging and tolerating an official pattern, practice, or custom of its police officers that would violate the rights of the public at large, including the Fowlers; (5) an accounting for all coverages and funds available for the remedies sought by the Fowlers and toward which the Fowlers may look for satisfaction of the other claims; (6) a declaratory judgment that the policies, practices or customs of Ridgeland's police department referred to in the complaint are illegal; and (7) various prayers for monetary relief.
¶ 18. Contrary to the majority's opinion, well-settled rules governing jurisdiction of the chancery court clearly provide that the Madison County Chancery Court is the proper court of jurisdiction in this case.
 I. THE CHANCERY COURT HAS JURISDICTION TO DECIDE THIS CASE.
¶ 19. The Constitution of this State grants the chancery courts in this state full jurisdiction over various matters, including "all matters in equity." Miss. Const. art. 6, § 159. Section 9-5-81 of the Mississippi Code also states that:
 The chancery court in addition to the full jurisdiction in all the matters and cases expressly conferred upon it by the constitution shall have jurisdiction of all cases transferred to it by the circuit court or remanded to it by the supreme court; and such further jurisdiction, as is, in this chapter or elsewhere, provided by law.
Miss. Code Ann. § 9-5-81 (Rev. 2002). It is also well-settled that if any aspect of a case is within its subject matter jurisdiction, the chancery court has authority to hear and adjudge any non-chancery pure-law claims via pendent jurisdiction. Johnson v. Hinds County,524 So.2d 947, 953 (Miss. 1988).
¶ 20. The instant case has been brought pursuant to the Tort Claims Act and includes claims against the City of Ridgeland, a political subdivision of this state. Miss. Code Ann. § 11-46-13, therefore, governs jurisdiction in this case specifically:
 (1) Jurisdiction for any suit filed under the provisions of this chapter shall be in the court having original or concurrent *Page 216 
jurisdiction over a cause of action upon which the claim is based. The judge of the appropriate court shall hear and determine, without a jury, any suit filed under the provisions of this chapter.
(emphasis added). Thus, the Tort Claims Act does not prohibit chancery court jurisdiction, since it is a court of concurrent jurisdiction pursuant to Section 9-5-81. This conclusion is based on an exact reading of the statutory language, which grants jurisdiction in either of two forums — in either courts of original jurisdiction or courts of concurrent jurisdiction.
¶ 21. The majority, however, contorts this language, to create an unprincipled rule of law. Indeed, the majority cites Brister for a rule flatly prohibiting chancery court jurisdiction over Tort Claims Act cases. Lawrence County Sch. Dist. v. Brister, 823 So.2d 459 (Miss. 2001).2 Again, as recognized in the Brister dissent, there isnothing in the language of the Tort Claims Act or the Constitution providing for such a rule; nor is there any authority for such a rule.
¶ 22. This Court is not a super-legislature. We are not legislative delegates permitted to engage in ad hoc policy-making. We are not lawmakers. We are, rather, nine individuals whose constitutional task is to interpret the legislative product. There are cases before us where such task is particularly straining, to the eye, to the mind, and to the pen. Indeed, there are cases about which that product is unquestionably open to more than one interpretation. But neither the present case norBrister, is one of them. We deal here with exacting, precise language granting jurisdiction over Tort Claims Act cases to courts of concurrent jurisdiction. The chancery court is one such court. Regardless of whether this is an improvident reality, judicially inefficient, plain bad policy, or otherwise, this set of nine individuals should not endeavor alteration through our constitutional task. Statutory amendments take place across the street in the Capitol Building, not here.
¶ 23. Brister is on point, but strictly for the proposition that absent an express grant of jurisdiction, a chancery court should not exercise jurisdiction over a claim "when a plaintiff's complaint neither requests nor requires equitable relief." Id. at 460. Brister stands only as a judicially made policy standing for the proposition that the Mississippi Tort Claims Act bars jurisdiction of tort claims in chancery court.
¶ 24. While Brister does state that "[n]egligence actions should
be brought in circuit court," such statement standing *Page 217 
alone is pure dicta. Id. (emphasis added). Indeed, the statement is made without any citation whatsoever to one single point of authority; nor is it followed by supportive reasoning. Id. Moreover, to read Brister
outside of the narrow rule for which it stands leads to an absurd evisceration of well-settled rules regarding the pendent jurisdiction of the chancery court.
¶ 25. In all cases, the ultimate resolution of jurisdiction is dependent upon three rules. First, where a well-pleaded complaint contains an independent basis for equity jurisdiction, chancery courts have full authority to hear and dispose of all legal issues. Tillotsonv. Anders, 551 So.2d 212, 213 (Miss. 1989) (citing Penrod Drilling Co.v. Bounds, 433 So.2d 916 (Miss. 1983); Tideway Oil Programs, Inc. v.Serio, 431 So.2d 454, 464 (Miss. 1983); Burnett v. Bass, 152 Miss. 517, 521, 120 So. 456 (1929)). Also, this Court has ruled that jurisdiction is determined at the time the suit is filed. Euclid-Miss. v. Western Cas. Sur. Co., 249 Miss. 547, 163 So.2d 676, 679 (1964). In addition, once equity jurisdiction attaches, the cause may still be heard on its merits even though the equitable issues have been resolved prior to the time of hearing, leaving only legal issues to be resolved. Penrod, 433 So.2d at 919 (citing McClendon v. Miss. State Hwy. Comm'n, 205 Miss. 71,38 So.2d 325 (1949); Euclid-Miss., 163 So.2d 676).Therefore, if equity jurisdiction was properly raised at the time of filing by any of the Fowlers' claims, jurisdiction is properly vested in the chancery court.
 A. The Fowlers' request for a temporary restraining order and further injunctive relief in regards to the Fowlers' automobile properly raises equity jurisdiction.
¶ 26. With respect to the restraining order to prevent the release of the Fowler's automobile, the chancery court found that jurisdiction attaches at the time a suit is filed. In this case, the Fowlers filed the complaint and later amended it. Then Ridgeland's police department subsequently released the Fowlers' automobile. But because Ridgeland's police department was in possession of the car at the time the suit was filed, equity jurisdiction had attached and the case was properly in chancery court. Under this Court's holding in Penrod, 433 So.2d at 919, the chancery court had jurisdiction.
 B. The Fowlers' request for an accounting properly raises equity jurisdiction.
¶ 27. In their amended complaint, the Fowlers requested an accounting of Ridgeland's liability coverage (which included its insurance and any funds which would be available for the remedies sought by the Fowlers). For an accounting to act as an independent grounds for equity jurisdiction, it must arise between the parties at suit.Tillotson, 551 So.2d at 214. The accounting for coverages arose between the parties presently at bar and was therefore legitimate.
¶ 28. The City of Ridgland asserts that an accounting is improper and that discovery at the circuit court level is the better alternative for obtaining this information. At the hearing below, however, counsel for the Fowlers explained ongoing frustration with the City's lack of cooperation in obtaining information regarding insurance coverage during good faith settlement attempts. The relevant portion of the record reads as follows:
 I (Fowler's counsel) was seeking a resolution as I'm required to do under the statute of the state Tort Claims Act. I wrote a letter to the adjuster, and I said, "Is there or is there not insurance covering the City of Ridgeland?" And he sent me a flippant answer with a copy *Page 218 
of the statute and said, "All we will ever owe you is $250, 000 under the statute," and never told me yes or no . . . Further, Counsel says that all that — under the state Tort Claims Act, all that there could be is 250,000, so it doesn't matter if there was insurance or not and its' going to come under the municipal plan . . . So this is not a — something I just made up. This is not just some sort of ruse to get an accounting, I need to know if they've got insurance, and if they do, how much it is. I couldn't even find that out during attempting good faith settlement with the City's municipal liability plan prior to instituting this suit. I never found out.
¶ 29. The resulting request for an injunction seeking an accounting is valid. Contrary to the City's argument that circuit court discovery is the better route, and contrary to the majority's shirking of this issue, the Fowlers' request for an accounting properly raises equity jurisdiction.
 C. The Fowlers' requests for injunctions concerning evidentiary matters properly raise equity jurisdiction.
¶ 30. In count two of their amended complaint, the Fowlers requested several injunctions concerning evidentiary matters. Specifically, the Fowlers requested preliminary injunctions for the preservation of evidence gathered in their case, as there is a criminal matter underway regarding much of the same evidence. The Fowlers also sought an inventory of evidence taken in connection with the collision and an opportunity for Fowlers' experts to examine, photograph and/or record the evidence.
¶ 31. This Court has stated that mandatory injunctions should be granted in a cautious manner and only when such is the only effective remedy. Hall v. Wood, 443 So.2d 834, 841 (Miss. 1983) (citing Homes,Inc. v. Anderson, 235 So.2d 680, 683 (Miss. 1970); Warrior, Inc. v.Easterly, 360 So.2d 700, 704 (Miss. 1978)). Further, it is the insufficiency of a remedy at law which serves as the foundation for injunctive relief. Moore v. Sanders, 558 So.2d 1383, 1385 (Miss. 1990) (citing V. Griffith, Mississippi Chancery Practice § 434 (2d ed. 1950)).
¶ 32. The instant case raises a unique and justifiable concern as to the preservation of and access to the evidence. Indeed, there is a criminal proceeding involved wherein much of the same evidence will be and already has been repeatedly employed. Thus, the Fowlers' request for injunctive relief on this basis is the only remedy available to ensure the preservation of the evidence. Therefore, equity jurisdiction in the chancery court is proper on this basis.
 D. The remaining injunctions requested by the Fowlers properly raise equity jurisdiction.
¶ 33. The Fowlers requested that the chancery court enjoin Ridgeland's police department from engaging in unlawful high-speed chases; from engaging in shootouts against fleeing felons (when injury to innocent persons is foreseeable); and from fostering an "official pattern, custom, or practice of violating the rights of the public at large." Further, the Fowlers requested an injunction requiring Ridgeland's police department to create and administer a policy which will "prevent dangerous incidents from injuring others in situations similar to the Fowlers."
¶ 34. Although the majority shirks this issue, too, to circumvent well-settled rules of equity jurisdiction, Ridgeland cited two cases for the proposition that the chancery court does not have the power to enjoin police pursuits: Gale v. Thomas, 759 So.2d 1150 (Miss. 1999), and Smithv. City of *Page 219 West Point, 475 So.2d 816 (Miss. 1985). However, the closest that Gale
gets to upholding this theory is that this Court found that officers are acting within the scope of their employment while engaged in police chases. Gale, 759 So.2d at 1157. In Smith, we stated that the duty of care a municipality owes to its citizens should take into account a community's expectation that police officers will do what is "reasonably necessary" to apprehend fleeing suspects. Smith, 475 So.2d at 818. This reasoning was used as a basis for this Court's finding that it is not negligence per se for a police officer, while in pursuit, to exceed the speed limit. Smith, 475 So.2d at 819. These findings in no way foreclose chancery jurisdiction to order an injunction against police activities that do not conform to the law.
¶ 35. As a result, the Fowlers' request for these four injunctions properly raised equity jurisdiction.
¶ 36. The majority ignores an entire corpus of jurisdictional law. Indeed, the pendent jurisdiction of the chancery court is a powerful grant of authority which allows for cases involving genuine concerns of both equity and law to be brought as one proceeding. Since requests for an accounting and injunctive relief were properly brought before the chancery court, equity jurisdiction was properly raised, thus establishing its jurisdiction over the entire matter. Chancery court jurisdiction should have been affirmed in this case. That it was not is a clear triumph for ad-hoc judicial policy-making. Accordingly, I dissent.
DIAZ, J., JOINS THIS OPINION. EASLEY, J., JOINS THIS OPINION INPART.
2 But as the dissent in Brister made clear:
 It is settled beyond question in this jurisdiction that where a suit is brought in the chancery court and the court takes jurisdiction on any one ground of equity, it will proceed in the one suit to a complete adjudication and settlement of every one of all the several disputed questions materially involved in the entire transaction, awarding by a single comprehensive decree all appropriate remedies legal as well as equitable, although all the other questions involved would otherwise be purely of legal cognizance; and if the ground of equity fails under the proof, the cause may be retained for a complete final decree on the remaining issues, although the latter present legal subjects only and the decree would cover only legal rights and grant none but legal remedies.
Shaw v. Owen, 229 Miss. 126, 132-33, 90 So.2d 179, 181 (1956) (emphasis added). We acknowledged a chancery court's pendent jurisdiction over issues of law more recently in Tillotson v. Anders, 551 So.2d 212 (Miss. 1989). "Where there appears from the face of a well-pleaded complaint an independent basis for equity jurisdiction, our chancery courts may hear and adjudge law claims." Id. at 213 (citations omitted)." Brister, 823 So.2d at 464 (McRae, P.J., dissenting).